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                                                          Payment Due Summary
                                                                                             Deposit Payment
Buyer                           Exporting Date   Amount Receivable    Deposit Received                         Amount Due
                                                                                                  Date
B&F FEDELINI INC                  2019-08-21           $114,942.03
                                                                                $45,988.50      9/2/2019               $183,953.97
B&F FEDELINI INC                  2019-08-21           $115,000.44
                                                       $229,942.47
NER PRECIOUS METALS INC           2019-08-14           $114,392.74
                                                                                $22,943.98      8/26/2019              $206,495.81
NER PRECIOUS METALS INC           2019-08-14           $115,047.05
NER PRECIOUS METALS INC           2019-08-21           $128,938.88              $12,893.89      9/2/2019               $116,044.99
NER PRECIOUS METALS INC           2019-08-29           $114,490.09
NER PRECIOUS METALS INC           2019-08-29           $114,627.56              $24,658.23      9/16/2019              $319,090.52
NER PRECIOUS METALS INC           2019-08-29           $114,631.10
NER PRECIOUS METALS INC           2019-09-04           $113,687.69
NER PRECIOUS METALS INC           2019-09-04           $109,887.50
                                                                                $58,327.91      9/20/2019              $408,174.80
NER PRECIOUS METALS INC           2019-09-04           $128,453.36
NER PRECIOUS METALS INC           2019-09-04           $114,474.16
                                                      $1,168,630.13          $118,824.01                              $1,049,806.12
CITY POCKET LOS ANGELES, INC.     2019-09-23           $114,270.02            $68,416.44        9/29/2019                $45,853.58
CITY POCKET LOS ANGELES, INC.     2019-09-23           $114,468.26                                                      $114,468.26
CITY POCKET LOS ANGELES, INC.     2019-09-23           $114,506.61                                                      $114,506.61
CITY POCKET LOS ANGELES, INC.     2019-09-23           $112,864.64                                                      $112,864.64
CITY POCKET LOS ANGELES, INC.     2019-10-07           $113,610.40              $88,687.34     10/16/2019                $24,923.06
CITY POCKET LOS ANGELES, INC.     2019-10-07           $125,423.96                                                      $125,423.96
CITY POCKET LOS ANGELES, INC.     2019-10-07           $111,085.20                                                      $111,085.20
CITY POCKET LOS ANGELES, INC.     2019-10-07           $130,745.64                                                      $130,745.64
CITY POCKET LOS ANGELES, INC.     2019-10-07           $112,789.71                                                      $112,789.71
                                                      $1,049,764.44          $157,103.78                                $892,660.66
